 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Huo~.=~ H _ummm~ \_

1 H=&<E=w_ Hm§$ 561an -ono_d §§ -£x:.»
,.m >wm£ G»m¢m
l
€ Ommo Z:_:co_." :-\_NLNN-_<_ ._..._._m»mm" Ammoomov §_»mz O>D_umz <<>_.mI
U mem zm=._m" _H><OD O_H OOU _<__z_m._._»_mm. _zO. 1=2_ 3 o_. ooa<m:oa ran §§ @\\_w 3
P mwh\zmv _<_omz:m Um$" o\_:m:m
B _...mzon m_==:m" o&~w:m o_m=:m mm_. om$" om\om:m
m A ~ w § m m
m_
n >mwm» _ummomu:o: _um::o:` mm»=:m$a 22 <m_:m 30va mm_m="::nm >mmm~ 1:=<
n ~mo:ma_.__ma >:a cnmo:mac_¢a A$ vqovm:$ c:wo:ma_.._ma A<m_:m Um»m:...=:mn m< aqcm$o. § monmm<ma u< >a==:mm$_.on c"><
K <m_c¢w _.mmm Em:m. mxm_:uzo:w. O>ummm~:B mvm:ao:. »:m mm§$ Q~omm <m_:m o*
0 _~m*. § m:n O=.m_. Oow$v zm=_m~:m:m >mmo$
D v
N 4 _ O:moxm:m >oooc=» md O:mmm wcwm:owm Osmox_:@ >ooo l m.~w o.oo o.oo _..>
M w _ O:mo_g:m >oooc:~. md mm:x 2 >=._mzom O:mo_¢:@- mo cwa o.oo . o.oo _u>
m w ._.E:m*m_.w 8 _um<o_= 3 Ooa _<_=m£mm C:x:o$: C:x:o$: o.oo C:x:o<<:
.m _._w$a 5 m§m§m:» o.. _u_:m:omm_ >¢m=m. zo. P o man 3
M 3 man m m:o<< c:_SoE: mBQc:$. \_w m:o<<m m=§== o..
H mm.ooov.

w >mmo$ ._.o»m_m Amxo_:a_:m c:_§o<<_._ <m__._mmv 3.$ wo.oo gao wo.oo

 

Case 17-12472-|\/| Document }8

_<_&o_. >o¢<_¢mm >mmo¢:a nomm O_omm:mn

_uEm:.:m Boo<m_.< o* =m:m..m_‘m.

_:Em_ 1_.£.¢0$¢ o»$ Oq I:m_ wmuo_.» A._._"mw _<_m~o: mr No._m

oc_._.m_._~ _u~o_.mo$a _um$ O* _"m:m_ mmuo_,» ~._.Id" z_m_.o: wf No\_@

U_._:»man oh\ww`wo`_m omnm> >_<_ <.._ w.ww

